                       IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


 CONCORD MUSIC GROUP, INC., ET AL.,

        Plaintiffs,                                 Case No. 3:23-cv-01092

        v.
                                                   Chief Judge Waverly D. Crenshaw, Jr.
 ANTHROPIC PBC,                                    Magistrate Judge Alistair Newbern
        Defendant.



                     DEFENDANT ANTHROPIC PBC’S
       MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION AND
      IMPROPER VENUE OR, IN THE ALTERNATIVE, TO TRANSFER VENUE

       Defendant, Anthropic PBC (“Anthropic”), through counsel, hereby moves the Court to

dismiss the Complaint against it pursuant to Federal Rules of Civil Procedure 12(b)(2) or 12(b)(3).

In support of this motion, Anthropic relies upon its Memorandum of Law and the Declaration of

Jared Kaplan (and associated exhibits), which are being filed contemporaneously herewith.


Dated: November 22, 2023                     Respectfully submitted,

                                             NEAL & HARWELL, PLC


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                                CERTIFICATE OF SERVICE


       I hereby certify that on November 22, 2023, I authorized the electronic filing of the

foregoing with the Clerk of the Court using the CM/ECF system, which will send notification of

such filing to the following:


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